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                                                             June 19, 2019
 VIA ECF
 Honorable Vincent F. Papalia, U.S.B.J.
 United States Bankruptcy Court
 District of New Jersey
 Martin Luther King Jr. Federal Building
 50 Walnut Street
 Newark, NJ 07102

         Re:      In re Neighborhood Health Services Corporation
                  Case No. 15-10277-VFP

 Dear Judge Papalia:

         In advance of the status conference scheduled for Thursday, June 20, 2019, in my capacity
 as the Chapter 11 Trustee of the estate of the above-referenced debtor, Neighborhood Health
 Services Corporation (the “Debtor” or the “Center”), I hereby provide the following status report
 of the case and of my efforts to help the Debtor emerge from bankruptcy.
                                     Plan and Disclosure Statement
         For various reasons set forth herein, we elected not to file the Plan and Disclosure
 Statement as contemplated at the time of last status conference. However, we continue to press
 ahead as reported at the last status conference and intend to file the Plan and Disclosure in the
 next few weeks. We have been in regular communication with HCFFA regarding our efforts
 throughout the process, and do not expect that HCFAA will seek to enforce the deadlines initially
 set forth in the financing order at this time. I have also been engaged in discussions with various
 creditor constituencies regarding the prospective Plan.
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                               Current Management/Employment
         One reason we did not file the Plan when expected is due to additional management
 changes As of early last month, the Center’s former Chief Medical Officer, Dr. Kerri Powell,
 assumed the position of Chief Executive Officer of the Center and has been working with James
 Campbell of Huron Consulting Group to transition to her new role. Huron’s, and therefore Mr.
 Campbell’s, engagement will terminate at the end of this month.
         Also at the end of this month, the Center will outsource its maintenance and security
 functions, which should yield long-term operational and economic efficiencies. We have also
 hired a new Chief Operating Officer, John Bone, who officially started this week. Mr. Williams
 remains employed at the Center and will be assisting Mr. Bone with transitioning to his new role.
 Additional efforts are underway, including more changes to the management structure and
 employment positions designed to further streamline operations to assist the Center’s
 emergence from bankruptcy.
                                          340B Program
         The 340B program has begun to generate significant revenue. We are pleased to report
 that by the end of this month, the Center will have received approximately $90,000 through the
 program, a portion of which is attributable to the “look back” period. Because we are relying
 upon this revenue to fund the Plan, we should have a greater understanding of the what is likely
 to be the average monthly revenue that can be used to support Plan payments.
                                            Sale Efforts
         AuctionAdvisors continues its marketing efforts to sell the Debtor’s real property in
 Plainfield and procure a lease-back of the building. We have received interest from three
 potential purchasers, two of whom we continue to negotiate with. I continue to pursue all
 avenues for a possible sale/lease back of the Debtor’s building as a possible means to obtain
 liquidity to restructure the Center and help fund any proposed plan of reorganization.
                        Accounting, Audit and Monthly Operating Reports
         The Trustee’s consultants employed to assist with reconciliation of the last fiscal year’s
 books and records and with current financial management continue to work with EisnerAmper



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 to reconcile accounting data, which is substantially complete at this time, and to serve the chief
 financial officer function at the Center. The monthly operating reports for October 2018 through
 February 2019 have been filed. We anticipate filing the March 2019 in the next week.
                                              HCFFA Loan
           On behalf of the Center, I have drawn down a total of $630,000 on the $750,000 HCFFA
 line of credit for necessary expenses related to the Center.
                              Status of NJ Primary Care Associates Action
           We continue to monitor the docket in this case. A settlement conference was held with
 Judge Bongiovanni on April 26, 2019, which was continued to June 3, 2019. A docket entry on
 that date indicates that the parties are to report back to the Court electronically no later than
 6/28/19 with a written status update regarding settlement discussions. We remain hopeful the
 Center may receive much needed funds if a settlement is reached.
           Should Your Honor require any further information, please do not hesitate to contact my
 office.
                                                                Respectfully submitted,
                                                                /s/ Stephen V. Falanga
                                                                Stephen V. Falanga
 cc:       All Parties Registered for ECF Service
           Beverly Chrisp (via email)
           Eugene Baucum (via email)




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